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                                IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

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        KIM BEATTY-BUCHANAN, individually
        and on behalf of all others similarly situated,
                                                                                      u
                                                              Civil Case Number: - - - - - - -

                               Plaintiff,
                       -v-                                              CIVIL ACTION

        MERCANTILE ADJUSTMENT BUREAU,                           CLASS ACTION COMPLAINT
        LLC and JOHN DOES 1-25,                                           AND
                                                                DEMAND FOR JURY TRIAL
                                Defendant.


               Plaintiffs, KIM BEATTY-BUCHANAN (hereinafter, "Plaintiff'), a Pennsylvania

        resident, brings this class action complaint by and through her attorneys, Marcus & Zelman, LLC

        and the Dunne Law Offices, P.C. against Defendant MERCANTILE ADJUSTMENT BUREAU

        (hereinafter "Defendant" or "MAB"), individually and on behalf of a class of all others similarly

        situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon information

        and belief of Plaintiffs counsel, except for allegations specifically pertaining to Plaintiff, which

        are based upon Plaintiffs personal knowledge.

                              INTRODUCTION/PRELIMINARY STATEMENT

           1. Congress enacted the FDCPA in 1977 in response to the "abundant evidence of the use of

               abusive, deceptive, and unfair debt collection practices by many debt collectors." 15

               U.S.C. § 1692(a). At that time, Congress was concerned that "abusive debt collection

               practices contribute to the number of personal bankruptcies, to material instability, to the

               loss of jobs, and to invasions of individual privacy." Id.        Congress concluded that

               "existing laws . . . [we]re inadequate to protect consumers," and that "the effective

               collection of debts" does not require "misrepresentation or other abusive debt collection

               practices." 15 U.S.C. §§ 1692(b) & (c).



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2. Congress explained that the purpose of the Act was not only to eliminate abusive debt

    collection practices, but also to "insure that those debt collectors who refrain from using

    abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e).

    After determining that the existing consumer protection laws were inadequate, id. §

    l 692(b), Congress gave consumers a private cause of action against debt collectors who

    fail to comply with the Act. Id. § l 692k.

                                   JURISDICTION AND VENUE

3. The Court has jurisdiction over this class action under 28 U.S.C. § 1331, 15 U.S.C. §

    1692 et seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendent jurisdiction

    over the state law claims in this action pursuant to 28 U.S.C. § 1367(a).

4. Venue is proper in this judicial district pursuant to 28 U.S.C. § 139l(b)(2).

                                   NATURE OF THE ACTION

5. Plaintiffs brings this class action on behalf of a class of Pennsylvania consumers seeking

    redress for Defendant's actions of using an unfair and unconscionable means to collect a

    debt.

6. Defendant's actions violated § 1692 et seq. of Title 15 of the United States Code,

    commonly referred to as the Fair Debt Collections Practices Act ("FDCPA") which

   prohibits debt collectors from engaging in abusive, deceptive and unfair practices.

7. The Defendant is a debt collector who has sent a collection notice to the Plaintiff which

   state that a settlement may be reported to the IRS. Under prevailing IRS regulations,

   settlement of the Plaintiffs debt would never be reported to the IRS.           Defendant's

   statement is therefore both false and misleading, in violation of the FDCPA.

8. Plaintiff is seeking damages, and declaratory and injunctive relief.




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                                            PARTIES

9. Plaintiff is a natural person and a resident of the Philadelphia, Pennsylvania, and is a

   "Consumer" as defined by 15 U.S.C. §1692(a)(3).

10. Defendant is a collection agency with its principal office located in Williamsville, New

   York.

11. Upon information and belief, Defendant is a company that uses the mail, telephone, and

   facsimile and regularly engages in business the principal purpose of which is to attempt

   to collect debts alleged to be due another.

12. Defendant is a "debt collector," as defined under the FDCPA under 15 U.S.C. §

   1692a(6).

13. John Does 1-25, are fictitious names of individuals and businesses alleged for the purpose

   of substituting names of Defendants whose identities will be disclosed in discovery and

   should be made parties to this action. _

                                    CLASS ALLEGATIONS

14. Plaintiff brings claims, pursuant to the Federal Rules of Civil Procedure (hereinafter

   "FRCP") Rule 23, individually and on behalf of the following consumer class (the

   "Class"):

        •      All consumers (1) with addresses in the State of Pennsylvania, (2) who were

               sent collection letters from the Defendant which state "Please be aware that if

               the amount of principal debt forgiven is equal or greater than $600.00, our client

               may be required by law to report the forgiven debt to the IRS and issue a form

               1099c", (3) where such reporting would never have occurred.

        •   The Class period begins one year to the filing of this Action.




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15. The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a class

   action:

             •   Upon information and belief, the Class is so numerous that joinder of all

                 members is impracticable because there are hundreds and/or thousands of

                 persons who have received debt collection letters and/or notices from the

                 Defendant that violate specific provisions of the FDCPA. Plaintiff is

                 complaining of a standard form letter and/or notice that is sent to hundreds of

                 persons (See Exhibit A, except that the undersigned attorney has, in

                 accordance with Fed. R. Civ. P. 5.2 partially redacted the financial account

                 numbers in an effort to protect Plaintiffs privacy);

             •   There are questions of law and fact which are common to the Class and which

                 predominate over questions affecting any individual Class member. These

                 common questions of law and fact include, without limitation:

                    a.      Whether Defendant violated various provisions of the FDCPA;

                    b.      Whether Plaintiff and the Class have been injured by Defendant's

                            conduct;

                    c.      Whether Plaintiff and the Class have sustained damages and are

                            entitled to restitution as a result of Defendant's wrongdoing and if

                            so, what is the proper measure and appropriate statutory formula to

                            be applied in determining such damages and restitution; and

                    d.      Whether Plaintiff and the Class are entitled to declaratory and/or

                           injunctive relief.

         •       Plaintiffs claims are typical of the Class, which all arise from the same



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        operative facts and are based on the same legal theories.

    •   Plaintiff has no interest adverse or antagonistic to the interest of the other

        members of the Class.

    •   Plaintiff will fairly and adequately protect the interest of the Class and has

        retained experienced and competent attorneys to represent the Class.

    •   A Class Action is superior to other methods for the fair and efficient

        adjudication of the claims herein asserted. Plaintiff anticipates that no unusual

        difficulties are likely to be encountered in the management of this class action.

    •   A Class Action will permit large numbers of similarly situated persons to

        prosecute their common claims in a single forum simultaneously and without

        the duplication of effort and expense that numerous individual actions would

        engender. Class treatment will also permit the adjudication of relatively small

        claims by many Class members who could not otherwise afford to seek legal

        redress for the wrongs complained of herein. Absent a Class Action, class

        members will continue to suffer losses of statutory protected rights as well as

        monetary damages. If Defendant's conduct is allowed proceed to without

        remedy they will continue to reap and retain the proceeds of their ill-gotten

        gains.

    •   Defendant has acted on grounds generally applicable to the entire Class,

        thereby making appropriate final         injunctive relief or corresponding

        declaratory relief with respect to the Class as a whole.




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                               ALLEGATIONS OF FACT

 16. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above

    herein with the same force and effect as if the same were set forth at length herein.

17. Some time prior to May 13, 2016, an obligation was allegedly incurred by Plaintiff to

    Capital One, N .A. ("Capital One")

18. The Capital One obligation arose out of a personal credit card debt in which money,

    property, insurance or services, which are the subject of the transactions utilized on the

    personal credit card, are primarily for personal, family or household purposes.

19. The alleged Citizens obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

20. Capital One is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

21. Defendant contends that the Capital One debt is past due.

22. Defendant collects and attempts to collect debts incurred or alleged to have been incurred

    for personal, family or household purposes on behalf of creditors using the United States

    Postal Services, telephone and Internet.

23. On or about May 10, 2016, the Defendant caused to be delivered to the Plaintiff a letter

    ("Letter") in an attempt to collect the alleged Capital One debt. See Exhibit A.

24. The Letter was sent or caused to be sent by persons employed by Defendant as a "debt

   collector" as defined by 15 U.S.C. §1692a(6).

25. The Letter is a "communication" as defined by 15 U.S.C. §1692a(2).

26. The Letter stated that the Plaintiff owed $568.58 on her Capital One account, originating

   from her store card with Kohl's Department Stores, Inc.

27. The Letter further offered to settle the Plaintiffs account for $341.14, thereby

   discharging the remaining $227.44 of debt.




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28. The Letter further stated:

           "Please be aware that if the amount of principal debt forgiven is equal or
           greater than $600.00, our client may be required by law to report the
           forgiven debt to the IRS and issue a form 1099c".

           See, Exhibit A.

29. The above statement in the Collection Letter is false, deceptive and misleading.

30. IRS Regulation l .6050P requires that an 'applicable entity' report a cancellation or

    discharge of indebtedness under certain circumstances, but only when the forgiveness is

    in excess of $600.00.

31. In the context of this Collection Letter, Defendant's statement that the creditor "may be

    required by law to report" can be read in two or more ways, one of which is inaccurate.

32. The natural reading is that the event may - or may not - come to pass. As a practical

   matter, IRS reporting would never come to pass in the settlement of this $568.58 debt.

33. Defendant had reason to know that there would be no debt cancellation exceeding

   $600.00 in the case of the settlement of this alleged $568.58 debt. Thus, the statement

   that discharged indebtedness "may be reported" is misleading and deceptive in the

   context of this letter.

34. There was no reason to include this tax statement in this Letter seeking to collect

   $568.58.

35. This unnecessary statement is materially misleading because inter alia:

         a. It needlessly injects the IRS into the collection process;

         b. It injects confusion as discharge of alleged indebtedness is not always taxable;

         c. The least sophisticated consumer may reasonably believe that in order not to be

              reported to the IRS, he or she must pay enough on the alleged debt so that a




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              balance of less than $600.00 remains regardless of whether the event 1s

              reportable or any exception applies; and

          d. The statement can negatively influence someone contemplating bankruptcy.

              The underlying debt here would almost always be dischargeable. However, any

              tax obligation that is created by the cancellation of the underlying debt would be

              non-dischargeable for at least three years. See, 11 USC 523(a)(l)(A) and 11

              USC 507(a)(8)(A)(i). In fact, the Plaintiff filed for a Chapter 7 Bankruptcy a

              month after receiving this Collection Letter, and was discharged in September

              of 2016.

36. Furthermore, the Letter is deceptive as it implies that an IRS reporting would be required

    if the alleged principal debt is over $600.00.

37. Upon information and belief, Defendant's actions as described herein are part of a pattern

    and practice used to collect consumer debts, wherein the Defendant needlessly implicates

    the IRS in its collection efforts.

38. Defendant could have taken the steps necessary to bring its actions within compliance

    with the FDCPA, but neglected to do so and failed to adequately review its actions to

    ensure compliance with the law.

39. On information and belief, Defendant sent a written communication, in the form annexed

    hereto as Exhibit A to at least 50 natural persons residing in the State of Pennsylvania

    within one year of the date of this Complaint.

                                         COUNT I

     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                        15 U.S.C. §1692e et seq.

40. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above



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    herein with the same force and effect as if the same were set forth at length herein.

41. Defendant's debt collection efforts attempted and/or directed towards the Plaintiff

    violated various provisions of the FDCPA, including but not limited to 15 U.S.C. §

    1692e.

42. Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false representation or

    deceptive means to collect or attempt to collect any debt.

43. Pursuant to 15 U.S.C. §1692e(5), a debt collector is prohibited from threatening to take

    any action that is not intended to·be taken.

44. Pursuant to 15 U.S.C. §1692e(10), a debt collector is prohibited from utilizing a false

    representation or deceptive means to collect or attempt to collect a consumer debt.

45. The Defendant violated these sections of the FDCPA by threatening to potentially report

    the settlement of the Plaintiffs debt to the IRS, which is a result that would never have

    occurred.

46. Upon information and belief, the Defendant's use of this IRS statement was a 'collection

    ploy' meant to increase the Defendant's collections. See, Good v. Nationwide Credit,

    Inc., 55 F. Supp.3d 742 (EDPA 2014).

47. Defendant's invocation of the IRS reasonably suggests that the debtor could get in

   trouble with the IRS for refusal to pay the debt, or for obtaining any debt forgiveness of

   $600 or more. See e.g., Velez v. Enhanced Recovery Company, LLC, 2016 WL 1730721

   (EDPA 2016).

48. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's conduct

   violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

   and attorneys' fees.




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                                DEMAND FOR TRIAL BY JURY

    49. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

       trial by jury on all issues so triable.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

               (a)     Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative, and Marcus & Zelman, LLC as Class Counsel;

               (b)     Awarding Plaintiff and the Class statutory damages;

               (c)     Awarding Plaintiff and the Class actual damages;

               (d)     Awarding Plaintiff costs of this Action, including reasonable attorneys'

fees and expenses;

              (e)      Awarding pre-judgment interest and post-judgment interest; and

              (f)      Awarding Plaintiff and the Class such other and further relief as this Court

may deem just and proper.


Dated: May 12, 2017                                   Isl Ari Marcus
                                                      Ari Marcus, Esq.
                                                      MARCUS & ZELMAN, LLC
                                                      1500 Allaire Avenue, Suite 101
                                                      Ocean, New Jersey 07712
                                                      (732) 695-3282 telephone
                                                      (732) 298-6256 facsimile
                                                      Attorneys for Plaintiff




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Kim Beatty,
Please be advised that our client has authorized us to offer you substantial savings to reS?lve this
account. We are authorized to resolve this account for a reduced amount of $341.14, which must be
received on or before 05/27/2016.
Failure to comply with the proposed conditions will make this offer null and void. We are not obligated to
renew this offer. Upon clearance of your payment(s), the account will be resolved in full.
Please be aware that if the amount of principal debt forgiven is equal to or greater than $600.00, our
client may be required by law to report the forgiven debt to the IRS and issue a form 1099c. If y0u have
any questions regarding your personal taxes, it is recommended that you consult with a certified public
accountant or other taX professional.-- -             ··                          ·                    --
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